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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA,

                 Plaintiff,                             Civil Action No.: 24-cv-2862

         v.

 MARYLAND DEPARTMENT OF STATE
 POLICE,

                 Defendant.


                                               ORDER

       Upon consideration of the Joint Motion for Provisional Approval and Entry of Consent

Decree filed by Plaintiff United States of America and Defendant Maryland Department of State

Police, and subject to final decision based on any objections, the Court finds that the terms of the

proposed Consent Decree are fair, adequate, reasonable, and are not illegal, a product of

collusion, or against the public interest. Therefore, it is hereby:

       ORDERED that said Motion is GRANTED and the Consent Decree is

PROVISIONALLY ENTERED;

       FURTHER ORDERED that the Fairness Hearing on the Consent Decree is scheduled to

be held on ________________, 2025 at __________________; AND

       FURTHER ORDERED that all case management deadlines are stayed pending the

Court’s determination, at or after the Fairness Hearing on the Consent Decree, whether to enter

the Consent Decree as a Final Order.



Date: _______________________                                  ______________________________
                                                               District Judge
